Case 0:22-cv-61477-AHS Document 57-1 Entered on FLSD Docket 05/01/2023 Page 1 of 4




                          EXHIBIT A
    Case 0:22-cv-61477-AHS Document 57-1 Entered on FLSD Docket 05/01/2023 Page 2 of 4




From:                                     Haft, David <David.Haft@lewisbrisbois.com>
Sent:                                     Friday, April 28, 2023 8:41 AM
To:                                       Michael Pascoe
Cc:                                       Robert Port; Phoebe Wise; Alayna K. Bridgett; Platner, Michael; Weinstock, Jeffrey; Joyce,
                                          Ken
Subject:                                  Re: [EXT] Grandis v. BGIS - Correction of Materially False Statement [IWOV-
                                          Clevelan.FID2117925]
Attachments:                              [EXTERNAL] Activity in Case 0:22-cv-61477-AHS Grandis et al v. BGIS Global Integrated
                                          Solutions US, LLC et al Motion for Extension of Time; BGIS Settlement Agreement Draft
                                          [IWOV-Clevelan.FID2174436]


Michael—

Respectfully, sounds like some Monday morning quarterbacking to me. If you have an issue with representations made
to the court, please feel free to take them up with your partner and client. There’s nothing more for us to discuss here.
We will let the court decide.

Thank you.

David H. Haft
Partner
Fort Lauderdale
954.828.0357 or x9540357

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                                                 Partner
                                                 David.Haft@lewisbrisbois.com

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delete this email and any attachment from your computer and any of your electronic devices where the message is stored.
          On Apr 27, 2023, at 5:14 PM, Michael Pascoe <mpascoe@hahnlaw.com> wrote:


          David,
          The reply you just filed [Dkt. No. 55] contains materially false statements. Specifically, you
          indicate that Docket Entry 48 confirmed the “form and substance” of the settlement Rob Port
          sent “earlier that same day,” [Reply at p. 2 (emphasis added)], and “the essential terms for
          settlement had been agreed to on March 16, 2023, later that same day, it was unequivocally
          represented to the Court in Joint Motion #2 that ‘[t]he Parties have reached an agreement on the
          material terms’” [Id. at p. 5 (emphasis added)].


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Case 0:22-cv-61477-AHS Document 57-1 Entered on FLSD Docket 05/01/2023 Page 3 of 4

   It is, perhaps, excusable because you were not copied on Rob’s draft transmission on March 16,
   but, the 3/16 Draft (12:14 PM) came over two hours after you filed the joint motion for
   extension (9:58 AM). In other words, at the time you filed Docket Entry 48 at 9:58 AM, Rob had
   not yet emailed the 3/16 Draft, so there is no possible way that Docket Entry 48 could represent
   an acceptance of a draft agreement that Plaintiffs had not yet received—and wouldn’t receive for
   another two hours. You’ve got the timeline exactly backwards.

   I’m attaching both e-mails so you don’t have to look for them. The docket entry has a time stamp
   of 9:58 a.m. and Rob’s e-mail came at 12:14 p.m.

   Please confirm, no later than noon tomorrow, that you will correct this false statement. If you do
   not, we will file a surreply, attach this e-mail, and correct the record. I truly hope that is not
   necessary.

   Mike



                    Michael Pascoe | Partner
                    Hahn Loeser & Parks LLP | MORE THAN A CENTURY OF CLIENT SERVICE
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                                                                    2
    Case 0:22-cv-61477-AHS Document 57-1 Entered on FLSD Docket 05/01/2023 Page 4 of 4




From:                                Robert Port
Sent:                                Thursday, March 16, 2023 12:14 PM
To:                                  Weinstock, Jeffrey
Cc:                                  Michael Pascoe; _217856_00018_ Devin Grandis Opposing Counsel Communications
Subject:                             BGIS Settlement Agreement Draft [IWOV-Clevelan.FID2174436]
Attachments:                         BGIS-APT-Grandis - Bill of Sale_HLP.DOCX; BGIS - APT-Grandis - Settlement Agreement
                                     DRAFT_HLP.DOCX; BGIS-APT-Grandis-Settlement Agreement Draft_HLP CLEAN.pdf;
                                     Lease Amendment - 1500 Property LLC-BGIS_HLP.DOC


Jeff,

Attached are redlined version of the latest draft agreements. As discussed, the client is still reviewing, but wanted to get
you a preliminary copy for your review and comment. I’ve also included a “clean” version of the draft settlement
agreement.

                             Robert Port | Partner
                             Hahn Loeser & Parks LLP | MORE THAN A CENTURY OF CLIENT SERVICE
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